    Case 19-31578-5-mcr       Doc 9     Filed 12/09/19 Entered 12/09/19 15:40:05          Desc
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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF NEW YORK


In re:                                                                 Bankr. Case No. 19-31578-MCR-7
Allan Dobransky and Sherry Ann Dobransky                                                         Chapter 7
         Debtor(s)

                                        REQUEST FOR NOTICE



    Pursuant to Rule 2002(g), Americredit Financial Services, Inc. dba GM Financial hereby requests that
all notices, pleadings and other documents in this case be served upon it at the following address:

                                 Americredit Financial Services, Inc. dba GM Financial
                                 PO Box 183853
                                 Arlington, TX 76096




                                                    /s/ Mandy Youngblood
                                                 By__________________________________

                                                      Mandy Youngblood
                                                      PO Box 183853
                                                      Arlington, TX 76096
                                                      877-203-5538
                                                      877-259-6417
                                                      Customer.service.bk@gmfinancial.com
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                                   UNITED STATES BANKRUPTCY COURT
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In re:                                                                 Bankr. Case No. 19-31578-MCR-7
Allan Dobransky and Sherry Ann Dobransky                                                         Chapter 7
         Debtor(s)


Certificate of Service
This Request for Notice was served electronically on the following individuals on November 29, 2019 :

         Russell Warren Dombrow                            Randy J. Schaal
         499 S. Warren St.                                 312 Broad St
         Ste. 604                                          Oneida, NY 13421
         Syracuse, NY 13202-2609


                                                           /s/ Mandy Youngblood
                                                        By___________________________________
                                                            Mandy Youngblood
 xxxxx64067 / 1006211
